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 5                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
 6                                  AT SEATTLE

 7
        UNITED STATES, in its own right and
        on behalf of the Lummi Indian Nation,
 8
                           Plaintiff,
 9
        LUMMI INDIAN NATION
10                                                      C01-47 TSZ
                          Plaintiff-Intervenor,
11                                                      ORDER
          v.
12
        STATE OF WASHINGTON,
13      DEPARTMENT OF ECOLOGY, et al.,

14                         Defendants.

15         THIS MATTER comes before the Court upon the billing statement of the Water

16 Master for the period ending September 30, 2021. Having reviewed the billing statement,

17 and having received no objection thereto, the Court hereby ORDERS:

18         (1)   The Clerk shall disburse from the Registry account maintained for this case

19               a check in the amount of $ 350.00 payable to John E. Thorson, Water

20               Master, and addressed to 376 River Road West, Plains, MT 59859.

21         (2)   The Clerk is directed to electronically file this Order, but need not provide

22               conventional service, i.e., copies via mail.

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 1         (3)   The Water Master shall post a copy of this Order on his website.

 2         IT IS SO ORDERED.

 3         Dated this 1st day of November, 2021.

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 5                                                 A
                                                   Thomas S. Zilly
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                                                   United States District Judge
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     ORDER - 2
